 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 1 of 12          PageID #: 1



                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


                             )
MALLORY M. CHADBOURNE,       )
                             )
      Plaintiff,             )
                             )
                             )
VS.                          )                 Civil Action No.
                             )
KIA MOTORS AMERICA, INC. and )
KIA MOTORS CORPORATION,      )
                             )
      Defendant.             )
                             )



                           PLAINTIFF’S COMPLAINT

To the Honorable United States Judge of Said Court:


   COMES NOW, Mallory M. Chadbourne (hereinafter referred to as “Plaintiff”),

and respectfully files this Complaint against Kia Motors America, Inc. and Kia

Motors Corporation (hereinafter referred to as “Defendants”), and in support hereof

would state and show the following:

                                      I. Parties

   1.    Plaintiff Mallory Chadbourne is an individual and she resides in and is a

citizen of Solon, Maine.

   2.    Defendant Kia Motors America, Inc. is a foreign Corporation registered in

the State of Maine and at all relevant times doing business in the State of Maine and


Plaintiff’s Complaint
Page 1 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 2 of 12            PageID #: 2



service of process upon this Defendant may be had by serving its registered agent for

service, CT Corporation System, 128 State St. #3, Augusta, Maine.

   3.    Defendant Kia Motors Corporation is a foreign Corporation at all times doing

business the State of Maine, and service of process upon this Defendant may be had

by serving its president, Noi-Myung Kim, 231231, Yangjae-Dong, Seocho-Ku, Seoul,

137-928, Republic of Korea.

                                    II. Jurisdiction

   4.    This Court has jurisdiction over the lawsuit under the provisions of 28 U.S.C.

Section 1332.

   5.    The parties to this lawsuit are citizens of different states, and the matter in

controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

                                       III. Facts

   6.    On or about June 20, 2017, Mallory Chadbourne was driving a 2014 Kia Rio

(VIN#KNADN5A30E6410355) leaving a driveway onto Route 9 in Eddington, Maine.

   7.    The subject vehicle was designed by Defendants.

   8.    The subject vehicle was manufactured by Defendants.

   9.    The subject vehicle was also assembled and tested by Defendants.

   10. While attempting to leave the drive the subject vehicle struck another vehicle

traveling eastbound on Route 9.

   11. At the time of the accident, Mallory Chadbourne was properly seated and

properly wearing the available seat belt.



Plaintiff’s Complaint
Page 2 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 3 of 12            PageID #: 3



   12. However, despite being properly seated and properly wearing the available

seat belt, Mallory Chadbourne sustained serious injuries when the vehicle failed to

protect her because it violated several crashworthiness principles.

   13. There are five (5) recognized crashworthiness principles in the automobile

industry/throughout the world. They are as follows:

         1.    Maintain survival space;

         2.    Provide proper restraint throughout the entire accident;

         3.    Prevent ejection;

         4.    Distribute and channel energy; and

         5.    Prevent post-crash fires.

   14. When the National Highway Traffic Safety Administration (NHTSA) created

the Federal Motor Vehicle Safety Standard (FMVSS) in the late 1960’s, the preamble

to the safety standards included a crashworthiness definition similar to that used

above, “that the public is protected against unreasonable risk of crashes occurring as

a result of the design, construction, or performance of motor vehicles and is also

protected against unreasonable risk of death or injury in the event crashes do occur.”

   15. The National Transportation Safety Board (NTSB) has also stated that,

“Vehicle crashworthiness refers to the capacity of a vehicle to protect its occupants

from crash forces. This protection—which is achieved, in part, by vehicle structure—

includes maintaining a survival space around the occupant, retaining the occupant

within that space, and reducing the forces applied to the occupant.”

   16. Crashworthiness safety systems in a vehicle must work together like links in



Plaintiff’s Complaint
Page 3 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 4 of 12             PageID #: 4



a safety chain. If one link fails, the whole chain fails.

   17. Vehicle manufacturers have known for decades and have admitted under

oath that there is a distinction between the cause of an accident versus the cause of

an injury.

   18. Indeed, vehicle manufacturers have known for decades that crashworthiness

is the science of preventing or minimizing injuries or death following an accident

through the use of a vehicle’s various safety systems.

   19. Lee Iacocca, former President of Ford Motor Company stated, while

President and CEO of Chrysler, that “Every American has the right to a safe vehicle.”

   20. General Motors has stated in the past that, “The rich don’t deserve to be safer

… Isn’t it time we realized safety is not just for the pampered and the privileged?

Safety is for all.”

   21. Volvo has stated that it has a goal that no one is killed or injured in a Volvo

vehicle by the year 2020. Volvo has also stated that, “Technologies for meeting the

goal of zero injuries and fatalities are basically known today – it is a matter of how to

apply, finance, distribute and activate.”

   22. Because every American has the right to a safe vehicle, because safety is for

all, and because technologies for meeting the goal of zero injuries and fatalities are

basically known today, it is incumbent upon auto manufacturers to investigate and

find out what other automakers are doing with regards to safety and to apply those

same methods or technology to their own vehicle. Furthermore, an automaker cannot

choose to use safer technology in Europe, Australia, Japan, or some other country and



Plaintiff’s Complaint
Page 4 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 5 of 12          PageID #: 5



refuse or fail to offer that same safety technology to consumers in America.

   23. It is further incumbent upon auto manufacturers to protect consumers by

using knowledge that a manufacturer has acquired over decades and decades of

vehicle design, testing, and reverse engineering of other manufacturers’ vehicles.

   24. In fact, insofar as society permits vehicle manufacturers to operate in such a

way that they are permitted to sell highly complex, potentially dangerous, and also

potentially highly profitable products on the market, manufacturers have a duty to

do their very best to ensure that the vehicle will not be harmful to buyers, their

households, or third parties.

   25. This is cemented by the fact that every state of the United States has case

law which holds that every person has a duty to exercise reasonable care to avoid a

foreseeable risk of injury to others.

   26. Most (if not all) engineering associations in the United States (and around

the world) have a code of ethics. The number one fundamental canon of ethics for

almost all engineers is to “hold paramount the safety, health, and welfare of the

public.” Accordingly, since paramount means “superior to all others”, all vehicle

engineers have to hold the safety, health, and welfare of the public as their highest

considerations when they design vehicles.

   27. Although it is true that there are minimum performance standards which an

automaker is supposed to meet before selling a vehicle in the United States (the

FMVSS), these minimum performance standards do not adequately protect the

public.



Plaintiff’s Complaint
Page 5 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 6 of 12         PageID #: 6



   28. Indeed, Joan Claybrook, former administrator of the NHTSA, wrote a letter

to major auto makers where she said, “Our federal safety standards are and were

intended by Congress to be minimum standards. The tragedy is that many

manufacturers have treated the standards more like ceilings on safety performance

rather than floors from which to improve safety.”

   29. Additionally, in September of 2014, a Congressional report was issued in

response to the General Motors ignition switch recall. The report questioned whether

NHTSA had the technical expertise, culture and analytic tools needed to address

safety issues. The report stated, “NHTSA also lacked the focus and rigor expected of

a federal safety regulator”. It was also stated that NHTSA staff has a “lack of

knowledge and awareness regarding the evolution of vehicle safety systems they

regulate.”

   30. Thus, it is clear that a prudent manufacturer’s research and analysis should

not stop with standards compliance. When it knows—or, through reasonable

diligence, should know—that a product design presents a latent hazard or foreseeable

risk of injury, it should go above and beyond the minimum requirements set forth in

mandatory standards, rules, and/or regulations.

                   IV. Cause(s) of Action as to the Kia Defendants

   31. Plaintiff hereby re-states and re-alleges each and every allegation contained

in pargraphs 1 – 30 herein as though set out hereafter in full.

   32. The Kia Defendants owed a duty of care to the Plaintiff.




Plaintiff’s Complaint
Page 6 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 7 of 12         PageID #: 7



   33. It was entirely foreseeable to and well-known by Defendants that accidents

and incidents involving their vehicles, such as occurred herein, would on occasion

take place during the normal and ordinary use of said vehicle.

   34. Indeed, the Plaintiff was using the vehicle in a manner that was reasonably

foreseeable by Defendants.

   35. The serious injuries complained of occurred because the vehicle in question

was not reasonably crashworthy, and was not reasonably fit for unintended, but

clearly foreseeable, accidents.

   36. The vehicle in question was unreasonably dangerous in the event it should

be involved in an incident such as occurred herein and was unreasonably dangerous

at the time it was sold by Defendants.

   37. The vehicle reached Plaintiff without significant change in the condition in

which it was sold.

   38. Defendants, either alone or in conjunction with some other individual(s)

and/or entity(ies), designed, manufactured, marketed, assembled, and/or tested said

vehicle in question.

   39. As detailed herein, the vehicle contains and/or Defendants have committed

either design, manufacturing, marketing, assembling, and/or testing defects.

   40. Defendants either knew or should have known of at least one safer

alternative design which would have prevented the serious injuries to Mallory

Chadbourne.




Plaintiff’s Complaint
Page 7 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 8 of 12               PageID #: 8



   41. In addition to the foregoing, Defendants, either alone or in conjunction with

some other individual(s) and/or entity(ies), designed, manufactured, marketed,

assembled, and/or tested said vehicle in question to be unreasonably dangerous and

defective within the meaning of Section 402(A) Restatement (Second) Torts, in that

the vehicle was unreasonably dangerous as designed, manufactured, assembled,

marketed, and/or tested because Defendants knew and/or should have known of the

following, non-exhaustive list of defects:

         a.    The side structure is weak and inferior;
         b.    The side structure contains a single 214 beam;
         c.    The single 214 beam is too low to provide any meaningful
               protection;
         d.    The side structure fails to contain UHSS, AHSS, boron, ferrite,
               martensite, complex phase, dual phase and TRIP steel in the
               door ring, door beam, rocker, sill, pillar, header, side rail, roof
               rail;
         e.    The side structure enadequacies allowed the door structure to
               intrude into the survival space at least 4 inhes further than its
               static position;
         f.    The vehicle failed to protect the safety cage;
         g.    The vehicle failed to protect the survival space;
         h.    The vehicle failed to protect the occupant survival zone;
         i.    The vehicle failed to use long duration side curtain;
         j.    The vehicle failed to utilize a side curtain that provides
               sufficient coverage such that the near side occupant can literally
               miss the deployment curtain;
         k.    The vehicle violated principles of crashworthiness;
         l.    The Defendants failed to conduct FEM, FEA and finite modeling
               analysis with different material and designs to evaluate safer
               alternative designs; and
         m.    The defects and negligence were the producing, direct,
               substantial and proximate cause of the injuries and damages in
               question.




Plaintiff’s Complaint
Page 8 of 12
 Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 9 of 12            PageID #: 9



   42. Defendants further failed to conduct proper testing and engineering analysis

during the design, development, and/or testing of the vehicle.

   43. Defendants breached their duty of care to Plaintiff and were negligent in the

manufacture, assembly, marketing, and/or testing of the vehicle in question.

   44. Defendants are strictly liable to Plaintiff for the defective design and/or

manufacture of the subject vehicle.

   45. In designing a vehicle, efforts should be made by manufacturers to identify

potential risks, hazards, and/or dangers that can lead to serious injury or death;

   46. Once potential risks, hazards, and/or dangers are identified, then the

potential risks, hazards, or dangers should be eliminated if possible.

   47. If the potential risks, hazards, and/or dangers can’t be eliminated, then they

should be guarded against.

   48. If the potential risks, hazards, and/or dangers can’t be eliminated or guarded

against, they should at least be warned about.

   49. A company that does not conduct a proper engineering analysis that would

help it to identify potential risks, hazards, and/or dangers that could seriously injure

someone is negligent.

   50. Based upon information and/or belief, Defendants either used or knew about

advanced features used in Europe, Australia, Japan and some other country and

chose not to offer those safety features to American consumers.

   51. Defendants’ occupant protection philosophy and design philosophy are

utilized in various model vehicles, including ones sold overseas in other markets.



Plaintiff’s Complaint
Page 9 of 12
Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 10 of 12           PageID #: 10



   52. When Defendants designed the subject vehicle, they did not reinvent the

wheel. Defendants used an enormous amount of human capital which had been

acquired from numerous different engineers which had worked on many prior vehicle.

This knowledge would have been utilized in different aspects of the various designs

of the subject vehicle.

   53. Defendants are currently in exclusive possession and control of all the

technical materials and other documents regarding the design, manufacture, and

testing of the vehicle in question. Defendants are also in possession of what, if any,

engineering analysis was performed.

   54. However, it is expected that after all of these materials are produced in

discovery and/or after Defendants’ employees and corporate representatives have

been deposed, additional allegations may come to light.

   55. Lastly, the materials from other models, years, and countries will provide

evidence regarding what Defendants knew, when they knew it, and about what was

utilized or not utilized as well as the reasons why.

   56. The foregoing acts and/or omissions, breach of duty, design and/or

manufacturing defects, and/or negligence of Defendants were the producing, direct,

proximate, and/or legal cause of the Plaintiff’s serious injuries and damages.

                              V. Damages to Plaintiff

   57. Plaintiff hereby re-states and re-alleges each and every allegation contained

in pargraphs 1 – 56 herein as though set out hereafter in full.

   58. As a result of the acts and/or omissions of Defendants, Mallory Chadbourne


Plaintiff’s Complaint
Page 10 of 12
Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 11 of 12            PageID #: 11



has endured pain and suffering, impairment, mental anguish, emotional distress,

impairment, and disfigurement, interference with her daily activities and a reduced

capacity to enjoy life as a result of her injuries.

   59. As a result of the acts and/or omissions of Defendants, Mallory Chadbourne

has become obligated to pay extensive medical expenses as a result of her injuries.

   60. As a result of the act and/or omissions of Defendants, Mallory Chadbourne

has suffered lost wages and potential lost wages into the future as result of her

injuries.

   61. Therefore, as a direct and proximate result of Defendants’ acts and omissions,

Plaintiff seeks all elements of damages available to her under Maine and Federal

Law, including, but not limited to: Medical costs, both past and future; pain and

suffering; extreme emotional distress and mental anguish; loss of enjoyment of life;

lost wages; lost earning capacity; and out of pocket expenses.

   62. The above and foregoing acts and/or omissions of the Defendants, resulting

in the serious injuries to Mallory Chadbourne, have caused actual damages to

Plaintiff in excess of the minimum jurisdictional limits of this Court.

                                        VI. Prayer

   63. WHEREFORE, for the reasons presented herein, Plaintiff prays that

Defendants be cited to appear and answer, and that upon a final trial of this cause,

Plaintiff recovers judgment against Defendants for:

         a.    actual damages;
         b.    prejudgment and post-judgment interest beginning June 20,
               2017;


Plaintiff’s Complaint
Page 11 of 12
Case 1:18-cv-00097-LEW Document 1 Filed 03/05/18 Page 12 of 12                PageID #: 12



         c.    costs of suit; and
         d.    all other relief, general and special, to which Plaintiff is entitled
               to at law and/or in equity, and/or which the Court deems proper.



DATED: March 5, 2018                              Respectfully submitted,

                                                  /s/ Blair A. Jones
                                                  Blair A. Jones, Esq.
                                                  State Bar No. 002257
                                                  bjones@joebornstein.com
                                                  LAW OFFICES OF JOSEPH L. BORNSTEIN
                                                  5 Moulton Street
                                                  P.O. Box 4686
                                                  Portland, ME 04112
                                                  (207) 772-4624 – Phone
                                                  (207) 523-5855 – Fax

                                                  and

                                                  The TRACY firm
                                                  E. Todd Tracy (Attorney-in-Charge)
                                                  State Bar No. 20178650
                                                  EToddTracy@vehiclesafetyfirm.com
                                                  Stewart D. Matthews
                                                  State Bar No. 24039042
                                                  SMatthews@vehiclesafetyfirm.com
                                                  Andrew G. Counts
                                                  State Bar No. 24036408
                                                  ACounts@vehiclesafetyfirm.com
                                                  4701 Bengal Street
                                                  Dallas, Texas 75235
                                                  (214) 324-9000 – Phone
                                                  (972) 387-2205 – Fax
                                                  Attorneys for Plaintiffs




Plaintiff’s Complaint
Page 12 of 12
